Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 1 of 21 PageID #: 11055




                        Exhibit A
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 2 of 21 PageID #: 11056




                       In The Matter Of:
          CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
                      APPLE, INC., ET AL




                                 September 9, 2016




                                Original File 9916 Cce V Apple.txt
                            Min-U-Script® with Word Index
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 3 of 21 PageID #: 11057
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                  September 9, 2016
                                                              Page 1                                                              Page 3
   1                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS        1            told me yesterday that he needs to fly home to Sweden
   2                            TYLER DIVISION
                                                               2            tomorrow. I have discussed it with Mr. Hill.
   3
       CELLULAR COMMUNICATIONS         )                       3                  I think we have a solution that works for both of
   4   EQUIPMENT, LLC
                                     )   DOCKET NO. 6:14cv251  4            us, which we hope will work for the Court, which is they will
   5
            -vs-                       )                       5            start with Ms. Mewes today. I understand their examination
   6                                       Tyler, Texas
                                                               6            sounds like it will be about a half an hour.
                                       )   8:33 a.m.
   7   APPLE INC., ET AL                   September 9, 2016
                                                               7                  We'll do some redirect with Ms. Mewes, but if it
   8                                                           8            looks like it's going to go longer than would allow
                            TRANSCRIPT OF TRIAL
   9              BEFORE THE HONORABLE K. NICOLE MITCHELL,     9            Mr. Stattin to go up and down today, we'd like to state to
                       UNITED STATES MAGISTRATE JUDGE
  10                                                          10            the Court that we're going to reserve the rest of our
                            A P P E A R A N C E S
  11                                                          11            questions, we have more questions for her, but that we're
       FOR THE PLAINTIFF:
  12                                                          12            going to reserve them in order to let Mr. Stattin go and get
       MR. BRADLEY W. CALDWELL
  13   MR. JOHN AUSTIN CURRY                                  13            home to Sweden, give them a chance to rest, call Mr. Stattin
       CALDWELL CASSADY & CURRY
  14   2101 Cedar Springs Rd., Suite 1000                     14            and then go back to our witnesses and our case-in-chief.
       Dallas, Texas 75201
  15
       MR. EDWARD R. NELSON III
                                                              15                   THE COURT: Any objection?
  16   NELSON BUMGARDNER PC                                   16                   MR. HILL: No, Your Honor.
       3131 West 7th Street, Suite 300
  17   Fort Worth, Texas 76107                                17                   THE COURT: Okay. That's great.
  18   MR. J. WESLEY HILL                                     18                   MR. LUMISH: There's -- we were waiting for a
       WARD, SMITH & HILL PLLC
  19   1507 Bill Owens Parkway                                19            ruling from you on the key deposition designations which
       Longview, Texas 75604
  20                                                          20            we'll need to play the video at some point, but I don't think
  21   COURT REPORTER:     MS. CHRISTINA L. BICKHAM, CRR, RMR 21            you need to do that at this moment, Your Honor.
                            FEDERAL OFFICIAL COURT REPORTER
  22                        300 Willow, Ste. 221              22                  THE COURT: Let me hear argument on that again.
                            Beaumont, Texas 77701
  23                                                          23            I've reviewed the deposition. I've the gotten notice from
  24   Proceedings taken by Machine Stenotype; transcript was 24            you-all in light of the testimony yesterday.
       produced by a Computer.
  25                                                          25                  MR. LUMISH: It's fairly straightforward. He's the

                                                              Page 2                                                              Page 4
   1   FOR THE DEFENDANTS:
                                                                        1   CEO of CCE. He's the only CCE witness that would be
   2
       MR. DOUGLAS E. LUMISH                                            2   appearing in this case. We think the jury should hear from
   3   MR. JEFFREY G. HOMRIG
       MS. LISA K. NGUYEN                                               3   him.
   4   MR. BRETT M. SANDFORD
       LATHAM & WATKINS LLP                                             4          There's been an effort -- and I think we'll see
   5   140 Scott Dr.
       Menlo Park, California 94025-1008                                5   more of an effort when our witnesses appear -- to paint them
   6                                                                    6   as having been cavalier or negligent about the way they went
   7   MR. JOSEPH H. LEE
                                                                        7   about this case; that they didn't review source code
       LATHAM & WATKINS LLP
   8   650 Town Center Drive, 20th Floor                                8   sufficiently; that they didn't do the things that CCE thinks
       Costa Mesa, California 92626-1925
   9                                                                    9   they should have done in response to this case. And I think
  10   MR. ERIC H. FINDLAY                                             10   it's only fair to have some balance in that.
       FINDLAY CRAFT PC
  11   102 N. College Avenue, Suite 900                                11          Mr. Key is the person who was sending letters back
       Tyler, Texas 75702
  12                                                                   12   and forth to Apple. He's the one who's at the top of the
  13                                                                   13   letterhead, as it were, on this case and this company. And
  14                     *******************************               14   this testimony goes to some of that.
  15                            P R O C E E D I N G S                  15          In addition, it just is relevant to damages issues
  16               (Jury out.)                                         16   as much as anything else. They have presented the '820
  17             THE COURT:    I know we've got a few issues to take   17   patent as if it were the crown jewel and the most important
  18   up this morning before we bring in the jury.   I also want to   18   thing in the CCE portfolio. And we think it's very clear
  19   give you your trial times as of the end of the day yesterday.   19   from Mr. Key's testimony that he didn't, at least, observe
  20              Plaintiff has used 6 hours and 51 minutes.           20   that or -- or believe that.
  21   Defendant has used 5 hours and 1 minute.   And that's just on   21          THE COURT: Okay. Response.
  22   the jury issues.                                                22          MR. HILL: Thank you, Your Honor. Wesley Hill for
  23              So what's the first thing we need to take up?        23   the Plaintiff.
  24             MR. LUMISH:   The first issue for me, Your Honor --   24         Your Honor, we oppose the playing of Mr. Key's
  25   and this is Doug Lumish for Apple -- is Mr. Stattin's lawyer    25   deposition, for a couple reasons.

  Min-U-Script®                                                                                                            (1) Pages 1 - 4
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 4 of 21 PageID #: 11058
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                September 9, 2016
                                                             Page 29                                                           Page 31

   1   Q. And is this an e-mail you actually sent on or around        1   Q. (By Mr. Lumish) So it will be the next page of your
   2    October 22nd, 2007, sir?                                      2    exhibit if you're looking on the paper, sir.
   3   A. I believe that's correct.                                   3      And Mr. Schmoller is highlighting exactly what I wanted
   4   Q. The attachments referenced something called: MAC LTE        4    to show you here, which is down towards the bottom, a
   5     workshop v3.                                                 5   reference to when -- it says: BSR is triggered when UL-SCH
   6        What is the MAC LTE workshop?                             6   resources are allocated and number of padding bits is larger
   7   A. The MAC LTE workshop was an ad hoc that Ericsson            7    than the BSR size.
   8    arranged in Helsinki in October 2007 to try to progress some  8       Do you see that statement, sir?
   9     matters related to the 36.321 specification.                 9   A. I see that.
  10   Q. And why were you forwarding slides -- well, let me ask 10       Q. Can you tell me, first of all, what padding bits means
  11    you this: There's a number of people listed in the "to" line 11    to you?
  12    of the e-mail in the address. So were those the people 12         A. Padding bits is -- they are bits, which are not filled
  13     involved in the workshop?                                   13    with data. So they are leftovers, and they aren't used for
  14   A. Those were some of the people involved in the workshop, 14       any particular purpose. They just -- we need to fill the
  15    those that I had the e-mail addresses of readily available. 15     protocol data unit up to the size that is expected by lower
  16   Q. Are there other people that participated in the workshop 16      layers in the mobile device.
  17    that you know of or can remember now, that aren't listed 17           And to do that, we add some bits, put them 0's or 1's or
  18    there in the e-mail addresses? Mr. Sebire listed out who all 18    a mix of 0's or 1's. It depends on how it is specified.
  19     these people are.                                           19   Q. You mentioned a protocol data unit. What is that?
  20   A. Yes. There are more people that were present at that 20         A. That is the -- the units are blocks that are produced by
  21    workshop. There were a number of more delegates or 21              the protocol layer and sent further down in the protocol
  22     representatives from Nokia and NSN.                         22    stack to the lower layers to transmit them over the air.
  23   Q. Do you remember any particular names that aren't listed 23      Q. Is a protocol unit a type of packet, data packet?
  24     here?                                                       24   A. Yes. We actually -- we have these service data units
  25   A. From the top of my head, I recognize -- or I can't -- 25         and protocol data units.

                                                             Page 30                                                           Page 32

   1    yes -- Malkamaki and Lars Dalsgaard.                   1              Service data units is where data from higher layers,
   2   Q. Just like it sounds?                                 2           from above, potentially user data, is coming in.
   3   A. I believe so.                                        3              And protocol data units are where, after you have
   4   Q. Would you mind spelling it, please, sir?             4           processed them and put them together in a certain format or
   5   A. Sorry. I cannot spell it.                            5           arranged many different SDUs and some internal control
   6   Q. Okay.                                                6           information, and then you output them as PDUs, protocol data
   7   A. Lars is spelled L-A-R-S. The last name, I regret I 7             units. That's on the sending side.
   8    don't recall how to spell it.                          8              On the receiving side, it's the opposite. Then you're
   9   Q. Okay. We're in the same boat.                        9           receiving the protocol data units, and then you demultiplex
  10           MR. LUMISH: So let's turn to the slides, if we 10           and disassemble them and out comes service data units that
  11    could. If we can go to Page 2 of this exhibit, 754, Page 2.11 you are sending further up.
  12   Q. (By Mr. Lumish) You see again a reference to the MAC LTE 12 Q. Does the number of padding -- let me ask you a different
  13                                                               13 question. I'll withdraw that.
        workshop, and there's dates there, 22nd through 23rd, October
  14    2007. What do those dates mean to you?                     14    Are you familiar with something called the uplink grant
  15   A. Those dates are the dates where we had our discussions 15 that would be provided to a phone or a tablet?
  16    on our LTE workshop.                                       16 A. Yes.
  17   Q. And there's an Ericsson logo on these slides in the 17 Q. And can you tell us just briefly what your understanding
  18    bottom right corner. Do you know why that's there? 18 of an uplink grant is?
  19   A. It's there because I produced this summary of our 19 A. An uplink grant is an indication that the mobile device,
  20    discussions.                                               20 the mobile phone or the tablet, has a right or permission to
  21   Q. So are these slides that you yourself created then, sir? 21 send something from the mobile device to the network. It
  22   A. I created these slides, and possibly there's maybe input 22 describes how much data and in which -- how it should be
  23    from both Ericsson and other companies on them. But I 23 encoded.
  24    created the slides.                                        24 Q. So, if the uplink grant says how much data can be sent,
  25          MR. LUMISH: Can we turn to DTX-754, Page 3? 25 does that relate in any way to the number of padding bits

  Min-U-Script®                                                                                                       (8) Pages 29 - 32
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 5 of 21 PageID #: 11059
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                 September 9, 2016
                                                            Page 33                                                               Page 35

   1 that may be found in a PDU or those protocol data unit            1    You're familiar with long and short form buffer status
   2 packets?                                                          2 reports, I assume?
   3 A. Yes. If, for instance, the grant says that the UE, or          3 A. Yes, I am.
   4 the mobile device, should send 800 bits worth of data, and        4 Q. If you tried to send a long form buffer status report to
   5 there's only data maybe in some 700 bits in the terminal that     5 replace padding bits and it didn't fit, what would be the
   6 needs to be sent, then you'll have to add a hundred bits of       6 logical thing to do, in your mind?
   7 padding.                                                          7 A. I would think that --
   8 Q. So the jury has heard a fair bit about something called        8         MR. CALDWELL: Objection, Your Honor.
   9 a padding BSR or a padding buffer status report. Are you          9 A. -- the short --
  10 familiar with that concept?                                      10         MR. CALDWELL: Objection, Your Honor.
  11 A. I -- strictly speaking, there is no padding buffer            11         THE COURT: Mr. Stattin, hold on just a second --
  12 status report.                                                   12 Dr. Stattin.
  13 Q. Are you familiar with the concept in the standard of          13         MR. CALDWELL: He's offering expert testimony that
  14 putting a buffer status report in a protocol data unit packet    14 hasn't been disclosed. We can approach if you would like.
  15 to replace padding bits?                                         15         THE COURT: Yeah, do.
  16 A. Yes, I am.                                                    16         (Bench conference.)
  17 Q. Do you call that by any particular name?                      17         THE COURT: Okay.
  18 A. We call it buffer status report triggered by padding or       18         MR. CALDWELL: Mr. Lumish asked him a question that
  19 for padding --                                                   19 was -- this isn't disclosed here, so what would be the
  20 Q. Okay.                                                         20 logical next step in your mind?
  21 A. -- for padding purposes.                                      21        So he's asking him to make sort of an obviousness
  22 Q. In the case we've been referring to that as a padding         22 type extension of what's in the document, and that hasn't
  23 buffer status report. So if I do that again, you'll know at      23 been disclosed.
  24 least what I'm talking about.                                    24         Just so you know, this man is literally not on
  25    The sentence that we have up on the screen: BSR is            25 their Rule 26 disclosures at all. The only reason he's even


                                                            Page 34                                                               Page 36

   1   triggered when the UL-SCH resources are allocated and number    1   here period is because we're not going to raise tick-tack
   2    of padding bits is larger than the BSR size.                   2   stuff. They incorporated by reference -- they incorporated
   3        Is there a check here to determine the space available 3       by reference AT&T's -- or T-Mobile's, and I think one of them
   4    in the protocol data unit or the uplink grant to determine     4   just says, you know, he was around for the 3GPP. That's
   5    whether the buffer status report should be triggered and       5   fine.
   6     sent?                                                         6          But, I mean, the extension to try to draw
   7   A. Sorry. Could you repeat the first part of the question?      7   inferences that should have been disclosed. And we,
   8   Q. Sure. It was long. I apologize.                              8   obviously, have a motion in limine on the expert testimony
   9        Does the sentence I read relate to checking the space      9   extensions.
  10    that's available in the uplink grant as it's reflected in the 10         MR. LUMISH: I'm not offering it as expert
  11     PDU?                                                         11   testimony. I'm not asking him to give an opinion. I'm
  12   A. Yes.                                                        12   asking as a percipient fact witness of ordinary skill in the
  13   Q. In what way?                                                13   art how he reads the document.
  14   A. To know whether a buffer status report would fit in the 14             THE COURT: I'm not going to let him go into what's
  15    PDU, but in the place of padding you would need to check how 15    the logical next step --
  16     many bits are not used yet.                                  16         MR. LUMISH: Okay. Thank you.
  17   Q. If you tried to fit a buffer status report into the 17                 (Bench conference concluded.)
  18    protocol data unit packet, that PDU packet, and there were 18            MR. CALDWELL: Your Honor, I know that he began
  19     not enough padding bits, what would happen?                  19   answering that, and I don't know if we were talking over what
  20   A. You couldn't fit the entire report.                         20   the transcript looks like; but obviously, we -- I would like
  21   Q. Can you say that again? I'm sorry?                          21   to clarify that the question and answer are stricken from the
  22   A. You couldn't fit the entire report.                         22   record. Because I was paying attention to you. I wasn't
  23   Q. What would the logical thing -- well, let me ask you a 23        aware of how much he was starting to answer to the --
  24     different question.                                          24         THE COURT: Okay.           The jury will disregard the last
  25         If you tried to first send -- let me start over.         25   question and answer.

  Min-U-Script®                                                                                                         (9) Pages 33 - 36
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 6 of 21 PageID #: 11060
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                 September 9, 2016
                                                          Page 37                                                               Page 39

   1        Let's continue, Mr. Lumish.                               1       But these slides, I believe, capture those things which
   2        MR. LUMISH: Thank you, your Honor.                        2    were agreed.
   3 Q. (By Mr. Lumish) Can we turn to Defendants' Exhibit            3   Q. What was the process you went through in trying to reach
   4 DTX-756 in your binder, sir? We'll bring up the cover of         4   consensus among the workshop members? Can you describe for
   5 that on the screen for you as well.                              5    us, and maybe put us in the moment, of what you guys were
   6    We have the same e-mail address issue here, but do you        6    doing and how -- how you were doing it, please?
   7 recognize this e-mail, sir?                                      7   A. It was a long time ago; but as usual, at these kind of
   8 A. Yes, I do.                                                    8    meetings, we presented the views. I presented part of the
   9 Q. It says in the subject -- or in the body there it says:       9    views from Ericsson.
  10 Dear all, please find the raw slides from today.                10       I -- if I recall correctly, Janne presented some other
  11    How do you pronounce that name that I see there?             11    views from Ericsson on another topic.
  12 A. Janne.                                                       12       Other companies presented their views and their
  13 Q. Janne?                                                       13    preferred solutions. And then we had long discussions on the
  14 A. Janne.                                                       14    pros and cons of different solutions and whether we could
  15 Q. Janne, okay. I'll do my best. I apologize.                   15    sort of align on particular solutions so that we could show
  16     And who is that person?                                     16    that we had a common understanding of where to go with the
  17 A. Janne was the head of our RAN2 delegation.                   17    standard.
  18 Q. And was Janne part of -- what's the last name? Let me        18   Q. Did -- did everybody in the workshop contribute to the
  19 ask that first.                                                 19    ideas that were being provided or was it a smaller subset?
  20 A. Peisa.                                                       20   A. I believe all companies at the workshop contributed to
  21 Q. Peisa. And it's Mr. Peisa?                                   21    the discussions.
  22 A. It's Dr. Peisa.                                              22   Q. And did you personally contribute to the discussions?
  23 Q. Dr. Peisa.                                                   23   A. I did.
  24    Was Dr. Peisa involved in the MAC LTE workshop?              24   Q. And did you observe Dr. Peisa contributing to the
  25 A. He was.                                                      25    discussions and -- and trying to reach consensus?

                                                          Page 38                                                               Page 40

   1 Q. And what was his role?                                        1   A. I did.
   2 A. He was arranging it.                                          2   Q. Can I ask you to look at DTX-756, Page 9, please? And
   3 Q. What do you mean by that?                                     3    we'll bring it up on the screen.
   4 A. On behalf of Ericsson he contacted the participants and       4       There is a reference down towards the bottom. It says:
   5 invited them to the workshop. And he arranged the meeting        5       Would prefer two formats: Single byte format when only
   6 venue so that we could be where we were. And he also -- I        6    one radio bearer has data to transmit; multi-byte format when
   7 believe he chaired the meeting and provided notes and minutes    7    only several radio bearers have data.
   8 from the meeting.                                                8       Now, the jury has heard, I think, quite a bit about long
   9 Q. So was -- who had the original idea, then, for the MAC        9    and short form buffer status reports. Does this -- these
  10 LTE workshop?                                                   10    statements here about formats relate to the notion of long
  11 A. It was an Ericsson idea.                                     11    and short form buffer status reports?
  12 Q. Now, there are attachments to this document as well. It      12   A. In my opinion, yes, they do.
  13 says: MAC LTE workshop v3.zip.                                  13   Q. In what way?
  14     Are these the same slides that we saw before, or are        14   A. A single byte format is a shorter format than the
  15 they different somewhat?                                        15    multi-byte format.
  16 A. These, I believe, are different. These are the output        16   Q. And can you tell from the description here when one
  17 from the entire workshop.                                       17    would use a single byte format versus a multiple byte format
  18 Q. And what do you mean by that? What's the -- what do you      18    in the context of the workshop discussions?
  19 mean by the output from the entire workshop?                    19   A. Yes. This would indicate that in case there is data on
  20 A. They -- they captured the agreements made during the         20    only radio bearer or radio bearer group, then you would use
  21 workshop. On some topics we were able to draw some              21    the single byte format to avoid the overhead of reporting
  22 conclusions and companies could -- could agree on a common      22    that there is no data on the other bearers.
  23 solution.                                                       23       And in case -- the second sub-bullet. In case you would
  24      On certain other topics or details, there was no           24    have data on multiple radio bearers or radio bearer groups,
  25 consensus.                                                      25    then the multi-byte format would be used to convey

  Min-U-Script®                                                                                                       (10) Pages 37 - 40
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 7 of 21 PageID #: 11061
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                  September 9, 2016
                                                           Page 41                                                               Page 43

   1 information about the data available on more than one group.      1   Q. That was my question. I wasn't sure if it related to
   2 Q. At the very top of the slide, it says: Buffer Status           2    the format selection or not.
   3 Reporting. The buffers aren't mentioned in the sentences          3       Now, the next sentence says -- or the next bullet says:
   4 we've highlighted on the center of the screen there.              4    How to choose the format.
   5     When you talk about radio bearers and radio bearer            5      Is this then describing the selection criteria for
   6 groups, does that relate to buffers and the status reports        6    choosing long versus short?
   7 for those buffers?                                                7   A. Yes.
   8 A. Yes, it does.                                                  8   Q. And it says: How to choose the format. Based on how
   9     And, generally, it was understood that there could be         9    many groups need to report, based on amount of data in the
  10 radio bearers and logical channels and queues and buffers.       10    buffer.
  11     And each queue or radio bearer or logical channel would      11       When it says: Based on how many groups need to report,
  12 have a buffer. And consequently, also, if you group the          12    how do you read this slide in the selection criteria for long
  13 radio bearers and logical channels, there would be a buffer      13    versus short buffer status reports?
  14 for the group of bytes.                                          14   A. I would read this as -- it would depend on how many
  15 Q. Let me ask you, please, to turn to Page 11. So DTX-756,       15    groups were expected to be reported. And then the criteria
  16 Page 11. We'll bring that up on the screen for you.              16    for what is needed to be reported that -- it's a little bit
  17    This slide starts with High-Level Format Summary. And         17    vague here, and it -- my understanding is that may be so that
  18 in the middle of the slide, it says: 2 formats. Can you          18    companies didn't fully agree on the exact criteria at the
  19 tell from the slide, sir, what is -- what things or formats      19    meeting.
  20 are being referred to here? Is it buffer status reports or       20       However, there was input to the meeting, as we saw on
  21 something else?                                                  21    the previous page, on Page 9, I believe it was, where one
  22 A. It's buffer status report formats.                            22    solution was described. And I believe that was the Ericsson
  23 Q. So in the first part, it says: 2 formats, 1 byte format       23    idea provided to the workshop.
  24 with Group-ID + Absolute size. And then it's -- the thing in     24   Q. Tell us again, then, what you believe the Ericsson idea
  25 parentheses is what I want to ask you about.                     25    provided to the workshop was, as far as the selection

                                                           Page 42                                                               Page 44

   1       Is that the same short form buffer status report that we    1    criteria for choosing short versus long buffer status
   2    looked at a couple of slides earlier?                          2    reports.
   3   A. That would be my understanding.                              3   A. My understanding is that the Ericsson idea was to report
   4   Q. And what do you read "(if only one group to report)" to      4    data for non-empty radio bearers. And that would be that you
   5    mean?                                                          5    use a short report if there is data on one group or radio
   6   A. That you would use this format if there's data in only       6    bearer, and you use a long format if there is data available
   7    one group, a radio bearer group or logical channel group. 7         for transmission on multiple radio bearers or radio bearer
   8   Q. And then it says: 3 byte fixed size format.                  8    groups.
   9         Is that the same long form buffer status report we 9          Q. And who put that idea, both on Page 9 and Page 11 of the
  10    talked about earlier?                                         10    slides, into this PowerPoint that we're looking at as
  11   A. I believe so.                                               11    Exhibit 756?
  12   Q. And if we jump down just a little bit on the page -- 12          A. I believe Janne Peisa provided these slides, and he may
  13             MR. LUMISH: Mr. Schmoller, could you bring up the 13       have put them there.
  14    last two bullets for me, please?                              14   Q. Do you believe it came from Ericsson or from companies
  15             I want the -- yeah, that one as well. Thank you. 15        other than Ericsson?
  16   Q. (By Mr. Lumish) So one says: Only one set of triggers 16         A. I believe that the first part on Slide 9, what we
  17    for both formats.                                             17    referred was coming from Ericsson, and the other part on
  18         Do you see that?                                         18    Slide 11, that was the output or the contribution at the
  19   A. Yes, I see that.                                            19    workshop. So that would be the joint.
  20   Q. What does the word "triggers" mean to you here? 20               Q. And I showed you the dates on the cover before. It was
  21   A. The trigger here, to me, means the events that triggers 21        October 22nd through 23rd of 2007. Was it the first time --
  22    the need or the transmission of a buffer status report. And 22      was the LTE -- MAC LTE workshop the first time that Ericsson
  23    it's not -- this trigger does not describe whether it's going 23    had the idea of choosing a long or short buffer status report
  24    to be a long or short. That's described based on the buffer 24      based on the number of radio bearer group buffers that needed
  25    status.                                                       25    to report data?

  Min-U-Script®                                                                                                        (11) Pages 41 - 44
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 8 of 21 PageID #: 11062
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                   September 9, 2016
                                                             Page 45                                                               Page 47

   1   A. No, it was not.                                             1 the -- the ideas that are provided in Exhibit 569?
   2   Q. Do you know when the first time was?                        2 A. Yes. We -- at Ericsson, we reviewed this document that
   3   A. To my understanding, we filed a patent application in       3 was drafted by Mr. Sebire and checked that it was in line
   4    the summer of 2006 suggesting the use of multiple different 4 with the contributions at the workshop.
   5    formats to improve efficiency and precision of buffer status  5 Q. And do you feel that you and Ericsson contributed ideas
   6     reporting.                                                   6 to this proposal, this joint proposal to the RAN2 Working
   7            THE COURT: Mr. Lumish, in the next few minutes, 7 Group?
   8    whenever you get to a good stopping point, we need to take    8 A. Yes, I do.
   9     our morning break.                                           9 Q. What ideas do you believe you helped contribute?
  10            MR. LUMISH: Perfect time right now, Your Honor. I 10 A. For instance, I believe we contributed the idea to use
  11     was about to switch documents.                              11 multiple different buffer status reporting formats.
  12            Thank you.                                           12 Q. The --
  13            THE COURT: Very good.                                13          MR. LUMISH: If we could turn to Page 2 of the
  14           All right. Ladies and Gentlemen of the Jury, we'll 14 exhibit, if you'll look at DTX-569, Page 2, and I'd like the
  15     be in recess until 10:45.                                   15 text above and below.
  16            COURT SECURITY OFFICER: All rise. 16                        Thank you.
  17            (Jury out.)                                          17 Q. (By Mr. Lumish) So we've spent a fair amount of time in
  18            THE COURT: I have to take care of a quick criminal 18 this case on these -- this part of the joint proposal as
  19    matter on our break, so I just need you to make room for our 19 well. And I'll just look at some of the text at the top
  20     incoming attorneys.                                         20 there. It says: Since it is not necessary to report the
  21            Thank you.                                           21 four RBGs always...
  22            (Recess.)                                            22     What does that mean to you?
  23            (Jury in.)                                           23 A. It means that when there is no information about --
  24            THE COURT: Please be seated.                         24 nothing to report on all of these radio bearer groups, it
  25            Mr. Lumish.                                          25 could be that they're not -- some of them are not configured


                                                             Page 46                                                               Page 48

   1           MR. LUMISH: Thank you, your Honor.                        1    or some of -- of that some of them have no data.
   2   Q. (By Mr. Lumish) Dr. Stattin, I'd like to turn you now to       2   Q. So you have a statement in parentheses there, and I want
   3    DTX-569. And it's a document we've seen several times in         3    to jump ahead to the end of that line. It says: It is
   4    this case, and it's been referred to, at least by me, as a       4   proposed to introduce two formats of BSR: One where only one
   5    joint proposal with Ericsson and others.                         5    RBG is reported and one where all four RBGs are.
   6       Do you recognize Exhibit 569?                                 6       And then it describes the number of bits and refers to
   7   A. I do.                                                          7    the figures below it. Do you see that?
   8   Q. Did you have a role in the creation of Exhibit 569 --          8   A. I see that.
   9    well, let me ask this, I can tell you're puzzled. Let me         9   Q. And did Ericsson have any role in the text I just read
  10    start with, is there a relationship between this document --    10    and the figures that we see below of the short and long form
  11    let me start again.                                             11    buffer status report?
  12      Tell me what you understand this document to be.              12   A. It looks consistent with ideas we've had at Ericsson.
  13   A. My understanding is that this document is the output          13   Q. And then you have Proposal 6 at the bottom. It says:
  14    from -- or it's capturing the output from the -- this           14    There are two types of BSR, a short BSR reporting the status
  15    workshop and we made a joint contribution to the RAN2 Working   15    of one RBG only, 1 byte long; and a long BSR reporting the
  16    Group.                                                          16    status of the four RBGs, 3 bytes long.
  17   Q. When you say "capturing the output from the workshop,"        17       Do you see that?
  18    do you mean the MAC LTE workshop we talked about before?        18   A. I see that.
  19   A. Yes, I do.                                                    19   Q. And does this text and looking at the figures tell you
  20   Q. And when you said "we," do you include the people who         20    when you would choose a long and when you would choose a
  21    are listed -- or the companies that are listed as sources on    21    short as a reader of the joint proposal?
  22    the top of Exhibit 569?                                         22   A. If you only read the Proposal 6 and the figures -- and
  23   A. Yes, I do.                                                    23    the figures, then it doesn't necessarily tell you-all about
  24   Q. Did the -- did you at least, and any other people at          24    when to use which.
  25    Ericsson by your observation, read and participate in the --    25   Q. Would you know at least, though, you would use the short


  Min-U-Script®                                                                                                         (12) Pages 45 - 48
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 9 of 21 PageID #: 11063
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                 September 9, 2016
                                                            Page 49                                                              Page 51

   1    form buffer status report if there was only one radio bearer  1    A. Yes.
   2    group that had data in the buffers to report?                 2    Q. And can you tell us why that is?
   3   A. Could you repeat that question, please?                     3    A. Yes. When I married, my wife had a name, which was not
   4   Q. Sure.                                                       4     very common. Her maiden name was not very common. And my
   5        The -- we start with the figure. It says: Buffer size,    5     name was -- last name was Lindstrom. It was a very common
   6     6 bits.                                                      6     name, and she didn't really feel like changing to a more
   7         Do you see that?                                         7     common name than she already had.
   8   A. I see that.                                                 8        So we looked into our families' history, and we found
   9   Q. And is that a size that's intended to hold data from one    9     out the maiden name of my grandmother on my father's side, it
  10     buffer or more than one buffer?                             10     was a rather uncommon name, which was disappearing from our
  11   A. It's there to show our -- disclose the amount of data 11          branch of the family, so we decided to change names, both of
  12     available on one radio bearer group.                        12     us, to Stattin instead of taking either Lindstrom or my
  13   Q. One radio bearer group. Is that different from buffer, 13         wife's maiden name.
  14    though? I want to make sure we're on the same page with 14                 MR. LUMISH: So, if I now can go back to
  15     that.                                                       15     Defendants' Exhibit 757, please.
  16   A. Depends on how you read it. It's a buffer size of -- 16          Q. (By Mr. Lumish) It's an e-mail from Mr. Sebire to the
  17    pertaining to an aggregate of a number of radio bearers. 17         working group. We've seen this before here in the trial.
  18   Q. And then -- but these are buffer status reports, so 18              But I wanted to direct your attention to a sentence at
  19    they're reporting on buffer data for radio bearer groups; or 19     the top that CCE's counsel has focused on.
  20     do I have that wrong?                                       20        The e-mail says: Attached please find a contribution on
  21   A. It's -- what is meant here is that it's the sum of the 21         the BSR I quickly drafted based on Samsung & Nokia-NSN
  22    buffers of the individual radio bearers in the one group. So 22     previous contributions.
  23    it's the amount of data available for transmission on all 23           Do you see that?
  24     other radio bearers within a group collectively.            24    A. I see that.
  25   Q. And then it's -- the text that's highlighted in green 25         Q. So, Dr. Stattin, you'll see that there is, I think, an

                                                            Page 50                                                              Page 52

   1    below says that: The short BSR reporting the status of one     1    early draft of the joint Ericsson contribution that begins on
   2    RBG only.                                                      2    the next page, DTX-757, Page 2.
   3       Does that tell you when you would use the short buffer      3       Did you read what Mr. Sebire was saying here to mean
   4    status report as far as how many radio bearer groups were      4    that all the ideas in the joint contribution came only from
   5     reporting data?                                               5    Samsung and NSN?
   6   A. In the view of some it would. And I think different 6            A. No, I did not.
   7     readers may have different understandings of that.            7   Q. How did you read it, if you recall, when he said: Based
   8   Q. Okay. What does it tell you?                                 8    on Samsung and Nokia-NSN proposal?
   9   A. To me, it was in line with the Ericsson proposal to have     9   A. I understood it to mean that he had used parts or pieces
  10    a short buffer status report if you would have data only on 10      of text coming from those previous contributions to describe
  11     one radio bearer group.                                      11    certain aspects.
  12   Q. And is it in line with your view of when you would 12                And then in addition to that, the proposals, they were
  13    have -- when you would use the long buffer status report? 13        describing the conclusions from our MAC workshop.
  14   A. It's in line with that.                                     14   Q. And then counsel -- we've both actually looked at with
  15   Q. And when would you use the long buffer status report 15           the jury the third bullet down in the e-mail body.
  16     again?                                                       16       It says: The selection of which BSR (long/short) is not
  17   A. When you have data on more than one radio bearer group. 17        discussed (running out of steam now.)
  18            MR. LUMISH: If we could go to DTX-757, please. 18              Do you see that?
  19   Q. (By Mr. Lumish) I don't know if you've seen this one 19          A. Yes.
  20    before. It's an e-mail from Mr. Sebire, and it's to a number 20    Q. Do you recall reading that when you got it from
  21     of people.                                                   21    Mr. Sebire?
  22        By the way, I don't think this e-mail does it, but I 22        A. Yes.
  23    wanted to ask you one question, which is there's some e-mails 23   Q. And what did you take "(running out of steam now)" to
  24    where your name is referenced as magnus.lindstrom instead of 24     mean?
  25     magnus.stattin; is that right?                               25   A. He was on a flight back from Helsinki. I believe it was

  Min-U-Script®                                                                                                       (13) Pages 49 - 52
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 10 of 21 PageID #: 11064
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                    September 9, 2016
                                                               Page 53                                                              Page 55

    1    a long-haul flight, so I took it to mean that he was tired     1 Exhibit 570. That's color-coded.
    2    and didn't have the energy to complete all aspects of what we  2      Do you see that?
    3     had contributed at the meeting.                               3 A. Yes.
    4   Q. Did you take it to mean that Mr. Sebire hadn't yet           4 Q. And I won't ask you to do this, in the interest of time,
    5    conceived of all of the ideas for selecting long versus short  5 because I want to make sure CCE's lawyers have a chance to
    6    buffer status reports on his own and separate from the         6 ask you their questions so we can get you home to Sweden
    7     workshop?                                                     7 tomorrow.
    8   A. Now, that, I don't know. I know that we discussed this, 8          But if you look at 572 [sic] and you flip through it,
    9    how to select long and short at the workshop, but he did not   9 you'll see color-coding in what is the original application
   10     include that in the contribution for some reason.            10 filed for the patent application in Mr. Sebire's name.
   11        My take on it was, from reading this, that he was too 11 Have you seen Exhibit 572 [sic] before?
   12     tired to do it and that he didn't feel it was urgent to 12 A. Not in this moment.
   13    propose that in 3GPP at that moment. We had made substantial 13 Q. And you'll see the color-coding there. I'll just
   14    progress or consensus in this group of companies to drive 14 represent to you, sir, so you don't have to do the work, that
   15    progress in 3GPP, and then we could add this aspect later. 15 the colors match up -- and we've shown this to the jury
   16   Q. So you mentioned that you had the ideas before the 16 already -- they match up to the joint Ericsson proposal.
   17    workshop and during the workshop of selecting a short buffer 17      Before you got pulled into this lawsuit, did you know
   18    status report when there's only one buffer to report data and 18 that the text from the joint Ericsson proposal had been
   19    a long when there was more than one. Did you share those 19 copied into a patent application for Nokia?
   20     ideas with the workshop members?                             20 A. No, I did not.
   21   A. We did.                                                     21 Q. What was your reaction when you found out?
   22   Q. Now -- and did that include Mr. Sebire?                     22 A. Surprised.
   23   A. Yes.                                                        23 Q. I've got a lot more questions for you, but I'm very much
   24   Q. I want to turn your attention, please, to Plaintiff's 24 interested in making sure you get home, so I'm going to just
   25     Exhibit 296.                                                 25 jump to the end here.


                                                               Page 54                                                              Page 56

    1     And this is an e-mail. It says it's from, as I read it,         1       When CCE's lawyer comes up in a couple of moments, I
    2 Dr. Peisa to Mr. Sebire, and I believe it cc's the Workshop         2    think he's going to ask you eight ways to Sunday and maybe in
    3 Group. And it's really the first sentence there that I want         3    a dozen different ways whether the people in the Working
    4 to focus your attention on.                                         4    Group and the 3GPP sit around and talk with each other about
    5     It says: Thanks a lot for the contribution, excellent           5    all of their patents.
    6 work.                                                               6        You don't do that, do you?
    7      Do you see that?                                               7   A. We don't do that.
    8 A. I do.                                                            8   Q. But that's not really what I want to know. What I'd
    9 Q. Did you take that to mean that Ericsson or Dr. Peisa was         9    really like to understand is: Would you put your name, and
   10 acknowledging in some way that Mr. Sebire had conceived of         10    only your name, on a patent application that covered the
   11 all of the ideas in the Ericsson joint proposal all on his         11    combined efforts and contributions of a team of people?
   12 own?                                                               12   A. No, I would not do that.
   13 A. No.                                                             13   Q. Why not?
   14 Q. What did you take it to mean?                                   14   A. Because it's not my -- only my work. It's not only my
   15 A. I understood it to mean that we were very grateful that         15    ideas.
   16 someone -- in this case, Mr. Sebire -- had taken the time to       16   Q. If you had worked with a team of people to come up with
   17 put down in a joint contribution form the conclusions and          17    ideas and you thought you should be able to patent some of
   18 suggestions from the -- our joint workshop.                        18    those just to yourself, do you think you would talk to them
   19 Q. Can you turn to Defendants' Exhibit 570 for me, please?         19    about it before you did that?
   20    And I would like you to look at it on the binder so you         20   A. I would. I would check whether they felt that they had
   21 may want to compare them.                                          21    contributed.
   22     We've done this for the jury before. I won't do it             22   Q. And did Mr. Sebire or anybody from Nokia ever ask you
   23 again in any detail, but what you see on the screen now and        23    whether you thought you should be named as an inventor on the
   24 in your binder is the cover of the Ericsson proposal -- the        24    '820 patent?
   25 joint Ericsson proposal, I should say, Defendants'                 25   A. No.

  Min-U-Script®                                                                                                          (14) Pages 53 - 56
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 11 of 21 PageID #: 11065
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                   September 9, 2016
                                                             Page 57                                                               Page 59

    1   Q. Sir, I want to -- on behalf of my client, Apple, I want       1   A. I didn't tell the jury that we did not, and I didn't
    2    to extend our sincere thank you to you. I know this has been    2    tell the jury that we did, because I haven't studied the
    3    a terrible imposition for you. I hope you enjoyed your time     3    application.
    4    here in Texas. Thank you very much for your testimony.          4   Q. Are Apple and Ericsson adversaries?
    5         MR. LUMISH: Pass the witness, your Honor.                  5   A. Not that I know of.
    6         THE COURT: All right.                                      6   Q. I mean, you're familiar with Apple, correct?
    7               CROSS-EXAMINATION                                    7   A. I am.
    8    BY MR. CALDWELL:                                                8   Q. Are they competitors? Do they compete, for example, in
    9   Q. Good morning, Mr. Stattin.                                    9    the base station market?
   10   A. Good morning.                                                10   A. No.
   11   Q. How are you?                                                 11   Q. Are you aware of any markets where Apple and Ericsson
   12   A. Fine. Thank you. How are you?                                12    compete?
   13   Q. Fine.                                                        13   A. Not immediately.
   14        Were you suggesting to the jury that you had never         14   Q. Are Ericsson and Nokia-NSN competitors?
   15    talked with Apple's lawyers?                                   15   A. They are two vendors in the same market.
   16   A. No.                                                          16   Q. Is that yes? They are competitors?
   17   Q. You have talked with Apple's lawyers prior to your           17   A. In some sense -- in some sense we are competitors, yes.
   18    testimony, correct?                                            18   Q. Before LTE was released, did Mr. Sebire's company notify
   19   A. I talked to Apple's lawyer on a video call.                  19    the other participants in the standard setting community that
   20   Q. On a video call, what, was it about a week ago, ten days     20    a patent application had been filed on his idea?
   21    ago, something of that nature?                                 21   A. I don't know.
   22   A. Probably two weeks ago.                                      22   Q. So am I correct that you are not here contending that
   23   Q. You didn't mean to suggest that you had not talked with      23    Mr. Sebire has patent claims on something that is not his
   24    Apple's lawyers to prepare at all for this trial, correct?     24    idea? Am I correct about that?
   25   A. No.                                                          25   A. I don't think that's my responsibility.

                                                             Page 58                                                               Page 60

    1   Q.   And we've actually not met, correct?                       1    Q. Am I correct that you are not here making that claim,
    2   A.   Excuse me?                                                 2     sir?
    3   Q.   You and I have actually not met.                           3    A. I'm not making any claims. I am here to provide the
    4   A.   We have not met. I met Mr. Cecil.                          4     facts I know.
    5   Q. Right. Well, my name is Brad Caldwell, and I represent       5    Q. You've seen a joint proposal that counsel for Apple
    6    CCE. It's nice to meet you.                                    6     usually refers to as the Ericsson proposal and sometimes
    7       Do you feel it's important for you to be here on behalf     7     refers to as a joint Ericsson proposal. Do you remember
    8    of Ericsson today?                                             8     that?
    9   A. I was asked to but not to be here today by Ericsson 9             A. I do.
   10    Legal.                                                        10    Q. Do you think it's fair to call that proposal an Ericsson
   11   Q. Just -- do you feel it's important for you to be here 11           proposal?
   12    today?                                                        12    A. I think it is a joint proposal. It's a joint
   13   A. It was -- my employer asked me to, so I feel that it is 13         contribution by the companies listed on the source.
   14    important that I do what I'm asked to do.                     14    Q. So for purposes of presenting the facts to the jury, is
   15   Q. Now, just to get one thing real clear, in your testimony 15        it more accurate to call it a joint proposal or an Ericsson
   16    you did not tell the jury that you or Ericsson or anyone else 16     proposal?
   17    at any of those meetings contributed to something that 17           A. I'm not a lawyer, so I wouldn't know.
   18    Mr. Sebire claimed in his patent claims, correct? 18                Q. Would you call it an Ericsson proposal, sir?
   19   A. I don't know because I haven't read his patent              19    A. I would call it a joint proposal or an Ericsson proposal
   20    application. And I haven't studied it in detail.              20     or something proposal.
   21   Q. So is it correct that you did not tell the jury that you 21       Q. So you would call it an Ericsson proposal?
   22    or Janne or anyone else at the meeting contributed anything 22      A. That's a possibility.
   23    to Mr. Sebire's patent claims?                                23    Q. Did Ericsson draft it?
   24   A. I don't know.                                               24    A. Ericsson did not draft the document.
   25   Q. You don't know if you told the jury?                        25    Q. Now, when a proposal is joint -- and let's say

  Min-U-Script®                                                                                                         (15) Pages 57 - 60
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 12 of 21 PageID #: 11066
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                     September 9, 2016
                                                              Page 61                                                               Page 63

    1    Ericsson's name is on it -- does that mean that Ericsson         1    we've already rejected before?
    2    conceived of the ideas in the proposal, or does it mean that     2   A. They can say that, but it depends on -- on the group
    3    Ericsson is willing to co-sponsor or co-sign the proposal?       3    whether that is still considered again or not.
    4   A. That varies.                                                   4   Q. Do you file patent applications on ideas that you
    5   Q. You can't tell from Ericsson's name being listed on the        5    contribute to a working group?
    6    cover as one of the sponsors whether or not that means           6   A. Yes.
    7    Ericsson contributed to the ideas, correct?                      7   Q. And I won't ask you any specifics. This is just a
    8   A. No, you cannot.                                                8   yes/no question. Do you get compensated by your company when
    9   Q. I think this may have been dealt with just -- aptly at         9    you file patent applications?
   10    the end of your direct. But just to be clear, when you go to    10   A. Yes.
   11    these meetings, do you tell Mr. Sebire and other folks at the   11   Q. When you file the patent application, as a delegate, is
   12    meeting that you filed a patent application?                    12    it part of your duty that you need to stand up and interrupt
   13   A. No, I don't.                                                  13    the meeting -- or sit and interrupt the meeting -- and tell
   14   Q. And is that because the goal of the meetings is to work       14    the other members that you've got relevant intellectual
   15    towards the best technical standard?                            15    property rights you're pursuing?
   16   A. It's because the meetings are focused on the technical        16   A. No.
   17    aspects.                                                        17          MR. CALDWELL: Can I see Plaintiff's Exhibit 149 at
   18   Q. Would you agree that the companies in the working group       18    Page 25?
   19    make decisions based on the contributions, not patent           19          Actually, if we could just go to the first page.
   20    applications?                                                   20    I'm sorry there, Mr. Evans.
   21   A. The group doesn't see patent applications so decisions        21   Q. (By Mr. Caldwell) Do you recognize the document that's
   22    and product specifications are made based on contributions.     22    shown on the screen, sir?
   23   Q. And, Mr. Stattin, some ideas are rejected, right?             23   A. I do.
   24   A. Yes.                                                          24   Q. 36.321, that was the portion of the standard where you
   25   Q. As the rapporteur, did you get to just force ideas in to      25    were rapporteur, correct?

                                                              Page 62                                                               Page 64

    1    the standard without discussion and approval?                1       A. That's correct.
    2   A. No. No, I did not.                                         2       Q. When was that portion of the standard finalized?
    3   Q. And so sometimes someone proposes an idea, and they        3       A. It's still being developed and -- and evolved. But the
    4    explain why they like it, and does the group say, no, we     4        first version was, to my recollection, completed -- I believe
    5    don't agree? Does that happen?                               5        it was in December, 2008.
    6   A. It happens.                                                6       Q. Now, are you familiar with the contents of this
    7   Q. Do sometimes companies present competing proposals of      7        document?
    8    how to solve the problem?                                    8       A. Yes, I am.
    9   A. Yes, they do.                                              9               MR. CALDWELL: Could I see Page 25.
   10   Q. And do you just put the two competing results in the 10            Q. (By Mr. Caldwell) Are you familiar with the Section
   11    standard, or do you figure out which one is best? 11                  5.4.5, buffer status reporting?
   12   A. That is what I devised this long -- at times very long 12          A. Yes.
   13    discussions would go on for many meeting cycles. Some 13             Q. And then starting partway down, do you see that there's
   14    disagree, but one tries to find a common way for trying to 14         a description of buffer status report shall be triggered? Do
   15    form a consensus for which to deduce.                       15        you see that?
   16   Q. Now, are -- in that situation when people are having 16            A. I see that, yes.
   17    that debate, are the participants in the working group 17            Q. Is there a difference between triggering a buffer status
   18    prevented from speaking their mind about what they think is 18        report and having criteria to determine whether it is long or
   19    the best proposal?                                          19        short?
   20       Do you ever tell someone they have to stay quiet? 20              A. Yes.
   21   A. No, never.                                                21       Q. What is that difference, sir?
   22   Q. Do they get a chance to say, I like this proposal or I 22          A. The triggering is related to whether the buffer status
   23    like that proposal?                                         23        report shall be transmitted at all, whereas the selection
   24   A. Yes.                                                      24        about which format to use is based on other criteria.
   25   Q. Do they get to say, you're proposing something that 25             Q. Has Mr. Sebire ever said, I claim to have invented


  Min-U-Script®                                                                                                           (16) Pages 61 - 64
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 13 of 21 PageID #: 11067
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                 September 9, 2016
                                                            Page 65                                                             Page 67

    1    triggering buffer status reports?                            1 A. I don't recall.
    2   A. I don't know. Not to me.                                   2 Q. Is that a contribution from Benoist Sebire?
    3   Q. Are you aware -- do you have any reason to think that in 3 A. Which part?
    4    this court case he has taken the position that he invented 4 Q. The same portion, sir. (Indicating.) Is that a
    5     triggering of buffer status reports?                        5 contribution from Benoist Sebire?
    6   A. I don't know. I haven't -- haven't been here in            6 A. I believe this is a contribution that is containing the
    7     listening to Mr. Sebire.                                    7 parts that was agreed in this workshop, plus some parts which
    8            MR. CALDWELL: Can we flip to the next page, sir? 8 may have been added later.
    9           Just kind of grab maybe the top 40 percent of the 9 Q. By whom?
   10     page, something like that.                                 10 A. I don't recall.
   11   Q. (By Mr. Caldwell) Now, do you see these portions of 11           May I ask for clarification of the question?
   12     5.4.5?                                                     12 Q. Certainly.
   13   A. Yes.                                                      13 A. Do you mean by whom -- who wrote the text that went into
   14   Q. And it's -- I don't want to read it all, but: For 14 this specification or the --
   15     regular -- I'll read a portion of it. Is that okay? 15 Q. Yes, sir.
   16        For regular and periodic buffer status reports: If more 16 A. -- who contributed the proposal to 3GPP or who disclosed
   17    than one LCG has data available for transmission in the TTI 17 the idea the first time?
   18    where the BSR is transmitted, report long BSR; else report 18 Q. Who wrote the text that's in the specification?
   19     short.                                                     19 A. If this was prior to releasing and the closure of the
   20         Correct?                                               20 release, then it might have been myself.
   21   A. Yes.                                                      21 Q. It might have been you?
   22   Q. And then the next one is: The number of padding bits is 22 A. (Nods head affirmatively.)
   23     equal to or larger than the size -- and it goes on. 23 Q. You're not telling the jury that it was you; you're just
   24        Were you the rapporteur who put this in the standard? 24 saying that's a possibility?
   25   A. I don't recall when this was put into the standard and 25 A. Depends on when it was done. I didn't go back and

                                                            Page 66                                                             Page 68

    1 whether I drafted the document doing that. Up to the point       1    check.
    2 where the document -- the specification was put under change     2   Q. All right. Now, the next option -- who put that in a
    3 control, I was providing the text and the input.                 3    proposal -- that information, that criteria in a proposal to
    4     And after it was put under change control, then also         4    3GPP?
    5 other companies could propose change requests to the             5   A. The -- some of the text was put in a proposal to 3GPP by
    6 specification.                                                   6    these joint companies, these companies in the joint
    7 Q. Just to be real clear, when you say you drafted the           7    contribution.
    8 document putting this into the standard, are you saying,         8   Q. Anyone else separate from that joint contribution?
    9 after someone proposed it, you typed it into 36.321, or are      9   A. As I said, I don't recall all of the details on what
   10 you saying you're the person who proposed that text for         10    happened as to that.
   11 inclusion in 36.321?                                            11   Q. Do you recall showing us these -- do you recall showing
   12 A. I didn't quite follow. Did I say that I drafted the          12   us these PowerPoint-type presentations that had some Ericsson
   13 text?                                                           13   logos on them? They were, I think, Defendants' Exhibits 754
   14 Q. I thought you did.                                           14    and 756.
   15 A. I believe I said that up to the point that the               15       And the question is just whether you recall showing
   16 specification was put under the change control, I drafted       16    these to us.
   17 document, the text which went into the specification.           17   A. Sorry. What was the question?
   18     After that point, it was also possible for other            18   Q. Do you recall showing the jury Defendants' Exhibits 754
   19 companies to propose changes and change requests.               19    and 756 that had the Ericsson PowerPoints?
   20 Q. And I'm not talking about, like, the possibility of          20   A. I recall they were shown to the jury, yes.
   21 change requests at the end. I just want to be real clear.       21   Q. What is the significance of text that is in bold versus
   22     When this text that's in the area -- when this text         22    text that is not in bold in those presentations?
   23 that's in that area (indicating) was added into 5.4.5, are      23   A. My understanding is that the text in bold is the
   24 you the person who came up with the text that would be          24    conclusion -- is the conclusion from the workshop; whereas,
   25 included in 5.4.5 or not?                                       25    the text not in bold are parts which were discussed but may


  Min-U-Script®                                                                                                       (17) Pages 65 - 68
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 14 of 21 PageID #: 11068
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                  September 9, 2016
                                                            Page 69                                                               Page 71

    1    not have been accepted by all companies.                     1     Q. After the meeting that we discussed that was around
    2   Q. Or maybe it's unanswered questions that need to be         2      October 22nd and 23rd, was Ericsson tasked with focusing on
    3    addressed, correct?                                          3      the triggering aspects of buffer status reporting?
    4   A. Oh, I understand that a lot of the text was input to the 4       A. If I recall correctly, yes.
    5    workshop.                                                    5     Q. And that's different from the determination criteria,
    6   Q. My question is this, though: If there are things that 6           correct?
    7    are not in bold, it may represent unanswered questions that 7      A. Yes.
    8    still need to be resolved, correct?                          8            MR. CALDWELL: Can we flip to the second page and
    9   A. If there is a question mark, yes.                          9      grab the middle of the page?
   10   Q. And we've seen a question mark in an unbolded sentence 10               Perfect.
   11    in this case, haven't we?                                   11     Q. (By Mr. Caldwell) Now, I'm sorry that the imagery is a
   12   A. Where?                                                    12      little spotty. Can you -- can you make it out okay? It's
   13            MR. CALDWELL: Can you flip to 756-011, sir? 13              got -- the lines are a little faint, but can you make it out?
   14   Q. (By Mr. Caldwell) Do you remember this page, 14                  A. Yes.
   15    Mr. Stattin?                                                15     Q. I apologize for that. I think it was used maybe in a
   16   A. I do.                                                     16      deposition and copied and scanned. So sorry about that.
   17   Q. The group specifically left unresolved "what to do when 17           Who drew the figures, Figure 1 and Figure 2, that are in
   18    short format fits but long one does not," correct? 18               this document?
   19   A. That was -- there was no conclusion on that.              19     A. I don't know.
   20   Q. And there's no place we can flip to in this document to 20       Q. Now, if Mr. Sebire drew those figures, would you
   21    find an answer to that question, is there?                  21      challenge that? Would you dispute it?
   22   A. I don't believe that there is in this document, no. 22           A. No. I -- I would only note that these figures do
   23   Q. Are you aware of any other documents that answer that 23          describe what we saw on some other slides captured in text.
   24    question before Mr. Sebire did?                             24      And this is a figure capturing the same thing.
   25   A. I don't -- I'm not aware of a document presenting that, 25       Q. I'm asking about the figures. I'm not arguing with you

                                                            Page 70                                                               Page 72

    1    and I'm not aware whether Mr. Sebire did or not.               1    about that point. I'm asking who drew the figures.
    2   Q. Do you have any reason to believe --                         2   A. I don't know.
    3          MR. CALDWELL: I'm sorry. Thank you.                      3   Q. If Mr. Sebire drew these figures, would you reuse them
    4   Q. (By Mr. Caldwell) Do you have any reason to believe that     4    in an Ericsson-only document and pass them off as Ericsson
    5    Mr. Sebire has ever taken credit for inventing the concept of  5    figures?
    6    having short buffer status reports and long buffer status 6        A. If a figure in a joint contributions, yes, I would use
    7    reports?                                                       7    them because these figures are -- these are joint
    8   A. No.                                                          8    contributions, so it's the -- the work and the output from
    9           MR. CALDWELL: Could we see Defendants' Exhibit 9             our joint efforts.
   10    569, please?                                                  10   Q. But would you be sure to say, hey, a guy from NSN drew
   11           All right. Let's just kind of zoom in the top          11    these pictures?
   12    third, if you don't mind, Mr. Evans.                          12   A. In 3GPP, we typically reuse figures because that's part
   13   Q. (By Mr. Caldwell) Are you familiar with this document, 13         of our normal work.
   14    sir?                                                          14   Q. What about if you reused them in a patent application?
   15   A. I am.                                                       15   Would you be sure to say, you know, some guy from NSN drew
   16   Q. This is the document that Apple's lawyers sometimes call 16       these figures?
   17    the Ericsson proposal, correct?                               17   A. If I would reuse something then -- if I'm reusing
   18   A. Yes.                                                        18    something from prior art, then it is described as prior art.
   19   Q. Who prepared this document?                                 19    And if I have used some figure -- it depends on the context.
   20   A. It was drafted by Mr. Sebire and capturing the              20   Q. So you don't know?
   21    conclusions and the proposals that the -- the conclusions of 21    A. I don't know.
   22    the group at this MAC workshop.                               22   Q. Would it surprise you if this figure were almost
   23   Q. And are you here on behalf of Ericsson taking credit for 23       identically reused in an application that names you as an
   24    the conclusions that are repeated in this document? 24              inventor and --
   25   A. That's not why I'm here.                                    25   A. No.

  Min-U-Script®                                                                                                        (18) Pages 69 - 72
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 15 of 21 PageID #: 11069
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                  September 9, 2016
                                                            Page 73                                                               Page 75

    1   Q. -- does not mention Mr. Sebire?                             1    Q. You said something earlier about providing background
    2   A. Not -- no, I wouldn't be too surprised.                     2     information in a patent. Or context information. Do you
    3   Q. You can see at the top of the screen -- if I can work       3     recall describing that generally?
    4    this thing -- there's a reference to Proposal 5. Do you see   4    A. No.
    5     that?                                                        5    Q. Let me ask you a different question, then.
    6   A. Yes.                                                        6        Are you familiar with what a claim of a patent is?
    7   Q. Okay. And I think -- I'll admit that I have trouble 7            A. I'm familiar that there are claims, but I'm not a patent
    8    reading these documents when they first come out. But am I    8     lawyer.
    9    correct, just for context, that Proposal 5, where it says     9    Q. Do you know what the significance of the claims of a
   10    Proposal 5, is actually referring to what's above the bold 10       patent is?
   11     word "Proposal 5"?                                          11    A. I'm not a patent lawyer.
   12   A. Could you say that again?                                  12    Q. Was a separate contribution to 3GPP made to present
   13   Q. Sure. I'm -- it was probably a dense question. Let me 13          criteria for choosing between short and long buffer status
   14     ask you slightly differently.                               14     reports?
   15        This says "Proposal 6" down here (indicating), do you 15       A. I don't recall.
   16     see that?                                                   16    Q. Have you looked for that in preparing to testify to the
   17   A. Yes.                                                       17     jury today?
   18   Q. And you'll agree with me that this (indicating) is what 18       A. No, I have not.
   19    it's talking about is Proposal 6, not what's further down on 19    Q. Now, if a separate proposal was made to show criteria
   20     the page below?                                             20     for choosing between long and short buffer status reports, is
   21   A. I have to look at the contribution --                      21     that something that we could find publicly available on the
   22   Q. No problem.                                                22     Internet?
   23   A. -- completely.                                             23    A. If there were documents contributed to 3GPP, you should
   24   Q. Yes, sir. It's No. 569.                                    24     be able to find that.
   25             MR. CALDWELL: In fact, would you zoom out? That 25        Q. When you had your video conference with Apple's lawyers,


                                                            Page 74                                                               Page 76

    1    might help out, actually.                                      1    were you shown any subsequent contribution where criteria for
    2   A. It's a new section of Proposal 6, so I think it's fair       2    choosing short or long buffer status reports was contributed?
    3    to say what is below Proposal 6 is a part of something else,   3   A. No.
    4     but it could be related.                                      4        MR. CALDWELL: Could we see Defendants' Exhibit
    5   Q. (By Mr. Caldwell) Fair enough. I'm not disputing that        5    DTX-567.
    6     point.                                                        6        Just kind of grab the top third of it, sir.
    7            MR. CALDWELL: Can you just slide it up just a tiny 7       Q. (By Mr. Caldwell) Have you ever seen this contribution,
    8     bit?                                                          8    R2-080015, sir?
    9            That's fine. Thank you.                                9   A. I may have, long time ago.
   10   Q. (By Mr. Caldwell) So all I'm getting at is the simple 10         Q. You don't remember it as you sit here today, correct?
   11    point that where Proposal 6 is presented in this paper is in 11    A. Correct.
   12     the area I've just marked in red.                            12   Q. Do you have any doubt that the contributions of this
   13   A. Yes. The text leading up -- the text after Proposal 5 13          document came from Nokia or Nokia Siemens Networks?
   14     seems to be leading up to Proposal 6.                        14   A. I believe this document was produced and that --
   15   Q. Would you agree with me that this merely had proposed 15          submitted to 3GPP by Nokia Siemens Networks.
   16    that there are two types and two formats, and it does not say 16   Q. But you're not here taking the position that the
   17     under which conditions we use them?                          17    contents did not come from Mr. Sebire, are you?
   18   A. This text does not include the aspects of which to use 18        A. I haven't read the contribution now, so I don't know
   19     that was discussed in this joint workshop, no.               19    what is the content. I would only speculate based on the
   20   Q. This text merely had proposed that there are two types 20         title. And I'm not here to speculate.
   21    and two formats and does not say under which conditions we 21      Q. Fair enough.
   22     use them, correct?                                           22       But you're also not here under oath telling the jury
   23   A. Yes. This text does not disclose that.                      23    that you or your colleagues at Ericsson came up with the
   24   Q. You mentioned that you've got a lot of patents, sir. 24           ideas in this contribution, are you?
   25   A. Yes.                                                        25   A. I don't know. I haven't studied this contribution in a

  Min-U-Script®                                                                                                        (19) Pages 73 - 76
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 16 of 21 PageID #: 11070
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                     September 9, 2016
                                                              Page 77                                                               Page 79

    1    very long time.                                                  1    listing the criteria for selecting long or short, and it
    2   Q. Did it cross your mind before you testified to go look         2    was -- I believe it was mentioned that there was a preference
    3    at the 3GPP website and see if there were other related          3    to do it in a certain way, and I believe that was the
    4    contributions to the issues that we're talking about in this     4    Ericsson input.
    5    trial?                                                           5   Q. And we also discussed, didn't we, that the decision of
    6   A. I was looking at contributions prior to those -- that we       6    what to do when certain things don't fit was left as an
    7    had been discussed before, not after.                            7    unresolved, unanswered question, correct?
    8   Q. Would you agree that this proposal introduces criteria         8   A. There was no consensus from that workshop.
    9    for short and long BSR, DTX-567?                                 9   Q. It was left as an unanswered question, correct?
   10   A. I don't know. I haven't studied it. And I have                10   A. From the collective -- from the group point of view, it
   11    difficulty reading it on the screen. And it's not in my         11    was left as an unanswered question. There may have been
   12    binder.                                                         12    suggestions and ideas on how to handle it from different,
   13   Q. And will you --                                               13    individual companies.
   14           MR. CALDWELL: Do we have 567?                            14   Q. So, Mr. Stattin, who presented this proposal, the
   15   A. And it would probably take me some time to study it.          15    DTX-567, to the Working Group?
   16   Q. (By Mr. Caldwell) Well, about how long do you think it        16   A. I don't recall. It was a very long time ago. It was in
   17    would take you to study it?                                     17    2008, it appears here; and now it is 2016, eight years ago.
   18   A. I don't know.                                                 18      And we present typically up to a thousand contributions
   19   Q. Okay. I mean, I'm happy to give you a copy of it. I           19    per meeting.
   20    don't have a problem with that, so...                           20   Q. Now, is there any way to check and see if it was
   21          MR. CALDWELL: Mr. Lumish, do you have 567                 21    presented at a meeting?
   22    somewhere?                                                      22   A. Possibly.
   23          May I approach the witness and hand him this              23   Q. And how might we do that?
   24    binder, Your Honor?                                             24   A. You could look in meeting minutes, if that is captured,
   25          THE COURT: Yes.                                           25    but it has not always been.

                                                              Page 78                                                               Page 80

    1   Q. (By Mr. Caldwell) Now, I know we have a limited amount       1     Q. What would you expect the meeting minutes to reflect if
    2    of time because I know we're ending at noon today, and you're  2      this proposal were discussed at a meeting?
    3    taking off in the morning, correct?                            3     A. I don't know. The style of meeting has varied and
    4   A. Correct.                                                     4      changed over the years. So this was something eight years
    5   Q. Just suffice it to say, you haven't studied Defendants'      5      ago. I don't recall.
    6    Exhibit 567, correct?                                          6            MR. CALDWELL: Your Honor, may I approach the
    7   A. Correct.                                                     7      witness and Mr. Lumish as well?
    8   Q. And you're not here taking a position claiming any           8            THE COURT: Yes.
    9    portion of Defendants' Exhibit 567, correct?                   9     Q. (By Mr. Lumish) I've handed you a document that has not
   10   A. What does that mean?                                        10      been pre-admitted in this case. But are you familiar with
   11   Q. You're not here claiming to have invented or conceived 11          Working Group meeting minutes that are reflected and recorded
   12    of the content of Defendants' Exhibit 567, correct? 12                and stored online?
   13   A. I'm not -- I was not asked to come here to do that. But 13         A. Yes, I am.
   14    if I look at this, the first paragraph in Section 2, it looks 14     Q. Can you take a look at what you were just handed that is
   15    very much like what Ericsson suggested in the joint MAC 15            marked at the top R2-080549?
   16    workshop.                                                     16          MR. LUMISH: Can we approach, Your Honor?
   17   Q. Was this proposal ever discussed in the Working Group? 17               THE COURT: You may.
   18   A. I don't recall if it was discussed prior to this            18          (Bench conference.)
   19    document was submitted in the Working Group. I know it was 19             MR. LUMISH: This looks like a 20-page document.
   20    discussed at this joint workshop among those companies. 20            There's no trial exhibit number. It wasn't disclosed. I'm
   21   Q. And that's not reflected in the presentation, is it? 21             not aware of what it is. This is unfair.
   22   A. In which presentation?                                      22            MR. CALDWELL: It's the meeting minutes off the
   23   Q. That this proposal was discussed. That is not reflected 23          public 3GPP website.
   24    in the Ericsson PowerPoints we've seen, is it?                24            THE COURT: Okay. And what is the relevance to
   25   A. It is -- I believe there were a couple of bullets           25      them?

  Min-U-Script®                                                                                                           (20) Pages 77 - 80
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 17 of 21 PageID #: 11071
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                   September 9, 2016
                                                             Page 81                                                               Page 83

    1          MR. CALDWELL: They're the meeting minutes where           1   Q. Do you have any reason to believe that these are not the
    2   Mr. Sebire's proposal was discussed by the Working Group         2    authentic meeting minutes from those meetings that are
    3   where he was at the meeting.                                     3    reflected on the public 3GPP website?
    4         MR. LUMISH: The issue is it's not on the list.             4   A. No immediate reason to say that.
    5         THE COURT: Why wasn't it disclosed?                        5          MR. CALDWELL: Your Honor, we'd move for the
    6         MR. CALDWELL: Well, it's an impeachment exhibit.           6    admission of this exhibit, which I will get a new sticker
    7         THE COURT: Okay.                                           7    for.
    8         MR. CALDWELL: It's certainly at least --                   8         MR. LUMISH: No objection, Your Honor.
    9         THE COURT: I'm just asking you to assert your              9         THE COURT: Okay. It will be admitted.
   10   objection and your response.                                    10         Let me know what the number will be.
   11         MR. CALDWELL: Absolutely. Absolutely.                     11         MR. CALDWELL: Your Honor, it is Plaintiff's
   12         I'm also thinking about -- the reason I smile is          12    Exhibit 299.
   13   I'm thinking about the cross-examination on an order from a     13         THE COURT: Thank you.
   14   Georgia court yesterday. It's a public record.                  14   Q. (By Mr. Caldwell) Mr. Stattin, will you do me a favor
   15         And this document had -- this witness has personal        15    and flip to the eighth page, which we'll also pull up on the
   16   knowledge of these meetings and the minutes that come out of    16    screen?
   17   them, so I think he has more than adequate foundation for it.   17          MR. CALDWELL: Would you pull up that section,
   18         THE COURT: If he lays the foundation, what's your         18    Mr. Evans?
   19   objection to the document?                                      19   Q. (By Mr Caldwell) Mr. Stattin, do you see that Nokia's
   20         MR. LUMISH: Just that it wasn't disclosed. That's         20    contribution of criteria for short and long BSR was discussed
   21   all.                                                            21    at this meeting?
   22         THE COURT: Okay. That objection is overruled.             22   A. Excuse me. Could you repeat that question?
   23         Lay the foundation and then offer it.                     23   Q. Yes, sir.
   24         MR. CALDWELL: Yes, Your Honor. Yes, Your Honor.           24       Do you see that the Nokia contribution, R2-080015, was
   25   I was just going to also remind the Court, remember that we     25    specifically discussed at the 60b meeting?

                                                             Page 82                                                               Page 84

    1 got a huge production from him and Ericsson the night before       1   A. From this document, it appears that this Nokia
    2 trial, so...                                                       2    contribution was discussed at that meeting, yes.
    3         THE COURT: I've got it.                                    3   Q. Now, is there any indication whatsoever that anybody at
    4         MR. LUMISH: Can I make one more point, if I may,           4    that meeting disputed that this contribution came from
    5 please, while we're here?                                          5    Mr. Sebire?
    6         THE COURT: Yes.                                            6   A. Whether the content of the ideas are coming from a
    7         MR. LUMISH: I'm going to need three or five                7    certain company or not is not reflected by the company or who
    8 minutes of redirect, so I just wanted to check in on timing.       8    is creating the contribution to the meeting.
    9         MR. CALDWELL: I think you'll be fine.                      9       It may be based on early ideas and early discussion, and
   10         MR. LUMISH: Okay. Thank you.                              10    then it has been put in a contribution at some point by a
   11         THE COURT: All right. Thank you.                          11    company because maybe they're being formed more -- more of a
   12         MR. LUMISH: Thank you very much.                          12    consensus in that direction or it's -- the standard has
   13         (Bench conference concluded.)                             13    more -- matured a bit, and it's a better moment, better time
   14 Q. (By Mr. Caldwell) So, Mr. Stattin, what is the document        14    to discuss and decide certain aspects.
   15 that I've handed you?                                             15      So from just seeing this document and the title and its
   16 A. It appears to be a 3GPP RAN2 Working Group document.           16    minutes, I cannot tell from whom the ideas are coming.
   17 Q. Are you familiar with documents like this?                     17   Q. Have you seen any document from which you can say
   18 A. Yes.                                                           18    someone other than Mr. Sebire conceived of the ideas in his
   19 Q. Have you flipped through it a little bit to see that it        19    patent claims?
   20 reflects minutes from a meeting known as No. 60b?                 20   A. I'm not aware of the patent claims.
   21 A. No, I have not.                                                21   Q. And just so we're clear, that question was about --
   22 Q. Can you tell that, by looking at the header and flipping       22    about documents. Are you contending, or is it your belief
   23 through it for a second?                                          23    that someone other than Mr. Sebire contributed and conceived
   24 A. Based on the header and the object, it appears to be           24    of the ideas that are inventive in his patent claims?
   25 minutes from an LTE user session.                                 25   A. I've not seen the claims. What I have seen is that I've

  Min-U-Script®                                                                                                         (21) Pages 81 - 84
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 18 of 21 PageID #: 11072
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                   September 9, 2016
                                                            Page 85                                                               Page 87

    1 told already that in the beginning of this contribution          1     think it would be very difficult for us to file it
    2 080015, there were some bullets and criteria which were          2     afterwards.
    3 contributed by Ericsson in the joint workshop.                   3    Q. Will you find DTX-576?
    4 Q. How well do you know Mr. Sebire?                              4            MR. CALDWELL: No. I think I gave you the wrong --
    5 A. I've been meeting him at RAN2 Working Group meetings for      5     I was looking for 080015 -- I'm sorry.
    6 a number of years.                                               6    Q. (By Mr. Caldwell) I'm sorry -- I'm sorry, 567. Do you
    7 Q. Do you trust him?                                             7     have Defendants' Exhibit 567 handy, sir? It's the
    8 A. I believe I do.                                               8     contribution from Mr. Sebire.
    9 Q. You guys actually knew each other fairly well. It's not       9    A. Yes.
   10 just that you happen to see each other at meetings; is that     10    Q. Would you have preferred to show this contribution to
   11 fair?                                                           11     the jury during your direct testimony?
   12 A. Can you define "know someone well"?                          12    A. I don't think I understand the question.
   13 Q. Let me ask a different question.                             13    Q. Would your testimony have been more complete if you had
   14    Did you and Mr. Sebire actually get pitted against each      14     showed Defendants' Exhibit 567 to the jury, sir?
   15 other in an election at one point?                              15    A. I don't know.
   16 A. We were -- Mr. Sebire, myself, and a delegate of -- was      16    Q. I understand that you have -- we have a limited amount
   17 it LG Electronics -- were at one point all candidates for a     17     of time, and you have to leave tomorrow.
   18 vice chairman position in RAN2.                                 18           MR. CALDWELL: So I will pass the witness now so
   19 Q. What happened in the election?                               19     that Mr. Lumish can have some follow-ups. Thank you.
   20 A. In the election there was a round of elimination and         20         THE WITNESS: Thank you.
   21 then there was a final round. In the first round the            21                REDIRECT EXAMINATION
   22 candidate from LG Electronics was eliminated, and in the next   22     BY MR. LUMISH:
   23 round it was concluded that Mr. Sebire won the election.        23    Q. Let's look at 567.
   24 Q. Did that election take place before or after Mr. Sebire      24         The suggestion you were hearing, sir, if you were
   25 made contribution 080015 to the standard?                       25     confused by it, was that we somehow were hiding this document


                                                            Page 86                                                               Page 88

    1   A. My recollection is that the election was in 2009, so         1    either from you or from somebody else. Let's start at the
    2    that would have been after 2008.                               2    top of it.
    3   Q. The election was after the contribution?                     3        First of all, look at the date. It says January -- why
    4   A. The election was after the meeting that we are looking       4    don't --
    5    at in this exhibit.                                            5          MR. LUMISH: Actually, Mr. Schmoller will you bring
    6   Q. Was the election before or after Nokia-NSN told the 6             up through Proposal 1 for me, please?
    7    other 3GPP participants that it had a patent application on    7           Right there. So I want to have the date at the top
    8    Mr. Sebire's idea?                                             8    and -- thank you.
    9   A. I don't know.                                                9   Q. (By Mr. Lumish) Do you see the date at the top, sir?
   10   Q. Does Ericsson sometimes have ideas that it keeps secret 10       A.   I do.
   11    until it can file a patent application before they propose it 11   Q.   It says 14-18 January 2008.
   12    to the standards group?                                       12   A.   Yes.
   13   A. What do you mean by "keep secret"?                          13   Q.   Is that before or after the workshop?
   14   Q. Does Ericsson sometimes have ideas that it keeps 14              A.   That's after the workshop.
   15    confidential internally at Ericsson to make sure they file a 15    Q. Is that before or after the joint Ericsson contribution
   16    patent application before they disclose it to the working 16        that we talked about before?
   17    group?                                                        17   A. It's after.
   18   A. If we're going to file a patent application, that, to my 18      Q. And there is a source listed there. Do you see the
   19    understanding, needs to be done before disclosing the 19            source?
   20    invention or publishing the invention.                        20   A. Yes.
   21   Q. So does that mean that, yes, Ericsson will keep it 21            Q. Does it include Ericsson on it?
   22    confidential from the working group until they get the 22          A. No.
   23    application on file?                                          23   Q. Now, he didn't show you the actual criteria and call
   24   A. Ericsson would keep it confidential from the public. 24           those up. Let's take a look at those in Section 2 here. Do
   25    I mean, if we would share it with other companies, then I 25        you see it says --

  Min-U-Script®                                                                                                         (22) Pages 85 - 88
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 19 of 21 PageID #: 11073
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                  September 9, 2016
                                                            Page 89                                                               Page 91

    1          MR. LUMISH: Can you maybe blow that up for me            1    "2 formats" down, please.
    2    please, Mr. Schmoller?                                         2          Thank you.
    3   Q. (By Mr. Lumish) It says: In its simplest form the            3   Q. (By Mr. Lumish) We're going to try to make this a little
    4    criteria can simply depend on the amount of data that is       4    easier to read.
    5     buffered in the different logical channel groups.             5      So on the top now we have the proposal that Mr. Sebire
    6         Do you see that?                                          6    submitted in Nokia's name only. It says: If only one LCG
    7   A. I see that.                                                  7    has buffered data, report the short; and if more than one,
    8   Q. And you've talked about radio bearer groups. Is there a      8    report the long.
    9    difference, in your mind, between logical channel groups and   9      Now, on the bottom we have the PowerPoint from Ericsson.
   10     radio bearer groups?                                         10    It's in bold text, isn't it?
   11   A. They are commonly used -- they use these terminologies 11        A. Yes.
   12     interchangeably in the RAN2 Working Group.                   12   Q. So that's the same bold texting that Mr. Caldwell asked
   13   Q. And the criteria that Mr. Sebire lists here only in 13            you about and with the same significance he asked you about
   14    Nokia's name are, first: If only one LCG has buffered data, 14      in the -- in the PowerPoint?
   15    report the short BSR format. And as soon as more than one 15       A. Yes.
   16    LCG has buffered data, report the long BSR format. 16              Q. And do you see any similarities here, sir, between what
   17         Do you see that?                                         17    Ericsson wrote in the PowerPoint and what's in Mr. Sebire's
   18   A. I see that.                                                 18    name in the first document at the top there?
   19   Q. Do you believe that Mr. Sebire conceived of those 19             A. Yes, I do.
   20    selection criteria for choosing between short and long buffer 20   Q. And what's the similarity?
   21    status reports all by himself, separate from the workshop? 21      A. The similarity is that if you have data to report on one
   22   A. No.                                                         22    group, then you use the short format. If you have data on
   23            MR. LUMISH: Let's look at the proposal, please, 23          more radio bearer groups, then you use the long format.
   24     Mr. Schmoller.                                               24   Q. Forgive me. I wrote on this. I got excited when I saw
   25            That was right underneath there, Proposal 1. 25             it.

                                                            Page 90                                                               Page 92

    1           Thank you.                                             1           Mr. Caldwell didn't show you this part of Plaintiff's
    2   Q. (By Mr. Lumish) It says Proposal 1: If only one LCG has     2     Exhibit 299. These are the meeting minutes.
    3    buffered data, report short BSR. As soon as more than one     3           Let me make sure I've got the number correct. Sorry.
    4    LCG has buffered data, report long BSR.                       4     Plaintiff's Exhibit 299.
    5       Is that an idea that Ericsson had before January 2008?     5           He showed you these meeting minutes from the RAN2
    6   A. Yes.                                                        6     Working Group. He didn't ask you about that bullet, I don't
    7   Q. And is that an idea that Ericsson presented to the          7     think, unless I misheard, where it says: Ericsson is quite
    8    workshop?                                                     8     happy with the Proposals 1 and 2.
    9   A. Yes.                                                        9       Do you see that?
   10   Q. Is that an idea that Ericsson presented to the workshop 10       A. I do.
   11    when Mr. Sebire was there?                                   11    Q. Do you remember what Proposals 1 and 2 are?
   12   A. Yes.                                                       12    A. Not from the top of my head. Proposal 1, I have read
   13            MR. LUMISH: Can you -- Mr. Schmoller, will you 13           now during my testimony. And you showed it to me so that I
   14    bring up the criteria again, please? I'm going to ask you to 14     recall. And that is in line with what Ericsson has been
   15    split screen.                                                15     proposing before.
   16            And if you could split it with Page 11 of            16    Q. So Proposal 1 is the one that we looked at here in the
   17    Defendants' Exhibit 756. So DT-756, Page 11.                 17     Nokia submission of using one -- of using a short form buffer
   18   Q. (By Mr. Lumish) So we have on the left the January 2008, 18       status reports when there's only one buffer to report. And a
   19    Nokia submission; and on the right, we have the PowerPoint 19       long form buffer status report, when there's more than one
   20    slide from Ericsson from the workshop.                       20     buffer to report. Are you surprised that Ericsson was happy
   21            MR. LUMISH: Can you make them bigger or maybe put 21        with that proposal?
   22    one on top of the other?                                     22    A. Not at all.
   23            Thank you.                                           23    Q. Why would you think Ericsson would be happy with it?
   24            So I -- yeah, I need the -- exactly. Actually, 24          A. Because it was consistent with our ideas and what we
   25    above that. So the four or five bullets above it, too. From 25      were thinking.

  Min-U-Script®                                                                                                        (23) Pages 89 - 92
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 20 of 21 PageID #: 11074
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                                  September 9, 2016
                                                            Page 93                                                              Page 95

    1   Q. Now, a couple of times Mr. Caldwell referred to a video      1    later proposals after the joint Ericsson proposal?
    2    conference you and I had. Do you remember this?                2       You said you looked for prior. Why did you look for
    3   A. Yes.                                                         3    prior instead of later?
    4   Q. And I think he also was suggesting to the jury there         4   A. I was looking trying to understand what led up to the
    5    that I -- I hid that from him. Do you remember me asking you   5    joint proposal. And I had no reason to believe I would look
    6    about that in your first minute or two of your testimony       6    at things after that.
    7     today?                                                        7   Q. All right. I think my last question for you, sir, is,
    8   A. Yes, you did.                                                8    Mr. Caldwell referred to an election. Do you remember that?
    9   Q. Okay. And tell the jury more about that call, please, 9          A. Yes.
   10     the video conference you and I had.                          10   Q. And in the election you were running to become vice
   11   A. In that video call we discussed -- I was asked about my 11        chair of some part of the standards body; is that right?
   12    educational background, my work at Ericsson, my work in 3GPP. 12   A. That's right.
   13        We discussed a little bit about buffer status reporting. 13    Q. You lost that election to Mr. Sebire; is that fair?
   14    We discussed the joint contribution and a patent by Johan 14       A. I did.
   15     Torsner.                                                     15   Q. And how did you feel about that?
   16              THE REPORTER: By who? I'm sorry, repeat that. 16         A. At the time it was my not preferred outcome, of course,
   17              THE WITNESS: The name?                              17    because if you're running, then you prefer to come out
   18              THE REPORTER: Yes.                                  18    winning.
   19              THE WITNESS: Johan Torsner.                         19       But it's also -- it would be an honor to be chairman,
   20              THE REPORTER: Thank you.                            20    but it would also be a lot of work. And, frankly speaking, I
   21   Q. (By Mr. Lumish) Now, earlier in your testimony on direct 21       think I made a better job for Ericsson being a delegate.
   22    you mentioned something about a patent application that you 22     Q. Do you hold a grudge against Mr. Sebire because he won
   23    thought showed to you that Ericsson had conceived of the 23         the election and you didn't?
   24    ideas of using a short form with a single buffer that needs 24     A. No, I don't.
   25    to report data and a long form when there's more than one. 25      Q. Did you shade any of your testimony to our jury today

                                                            Page 94                                                              Page 96

    1       What -- what was the application or patent you had in     1      because you lost that election?
    2    mind when you testified?                                     2     A. No.
    3   A. That was the same patent by Johan Torsner.                 3     Q. Did you say anything today that you think is untruthful
    4   Q. And do you know if that patent ends -- excuse me -- do     4      because you lost some election at the working group level?
    5    you know if that patent ends in the number '666?             5     A. No.
    6   A. I think it does.                                           6     Q. That's all I have for you, sir. Thank you very much.
    7   Q. Okay. Now, he also asked you about whether you knew --     7              MR. CALDWELL: Can I try and fit it in, in a minute
    8    whether you thought of Apple as an adversary. You're not in  8      here?
    9    the legal department of Ericsson, are you?                   9          THE COURT: All right.
   10   A. I'm not.                                                  10               RECROSS-EXAMINATION
   11   Q. And are you aware of any lawsuits between Apple and 11            BY MR. CALDWELL:
   12    Ericsson?                                                   12     Q. Mr. Stattin, I'll try to be real quick, given the time.
   13   A. No.                                                       13        You said that Apple and Ericsson used to be adversaries
   14   Q. So you -- you don't know if Apple and Ericsson have been 14       in lawsuits, right?
   15    embroiled in lawsuits in any time in the past?              15     A. I said that I am aware that Ericsson and Apple was in a
   16   A. In the past I am aware, yeah, we have been in lawsuits. 16        lawsuit.
   17    But not any -- I'm not aware of any present.                17     Q. And they resolved those difference in December of 2015,
   18   Q. Okay. He -- Mr. Caldwell asked you if it crossed your 18          correct?
   19    mind to look at any later dated proposals to the working 19        A. I don't have a clear picture of the entire timeline on
   20    group or to the 3GPP, later dated than the joint Ericsson 20        that.
   21    proposal.                                                   21     Q. Prior to the resolution of that lawsuit, had you ever
   22       By the way, the reason I call it that, is Ericsson is 22         contended that Mr. Sebire claimed inventions that weren't
   23    the first name. I've been calling it that for two years. I 23       his?
   24    don't think I'm going to be able to change now. 24                 A. No.
   25       So he said: Did it cross your mind to look later -- at 25       Q. Did you ever offer to have a video conference with us?


  Min-U-Script®                                                                                                        (24) Pages 93 - 96
Case 6:14-cv-00251-KNM Document 283-1 Filed 09/13/16 Page 21 of 21 PageID #: 11075
  CELLULAR COMMUNICATIONS EQUIPMENT LLC VS
  APPLE, INC., ET AL                                                                                               September 9, 2016
                                                             Page 97                                                          Page 99

    1   A. I didn't have a video call with CCE. I met a CCE             1   down.
    2    representative at the -- at my deposition, though.             2           All right. Ladies and Gentlemen of the Jury,
    3   Q. And then when you had a discussion with Apple and talked     3   you've put in a long half day, and we're going to recess
    4    about this Torsner patent, just to be clear, you didn't        4   until Monday morning at 9:00 a.m.
    5    present any indication to the jury that that Torsner patent    5         Again, if you'll be here a few minutes early so we
    6    has any relationship to what we're talking about today, did    6   can start on time. I will, again, caution you not to talk
    7    you?                                                           7   about this case over the weekend with family or friends or
    8   A. I don't recall if I -- if I did or not.                      8   anyone. Just put it out of your mind. Enjoy your weekend,
    9   Q. Sir, you've not identified a single person who conceived     9   and we'll pick it back up an Monday. We'll be in recess.
   10    of inventive concepts in Mr. Sebire's claims, correct?        10         COURT SECURITY OFFICER: All rise.
   11   A. I still haven't seen the claims, so, sorry, I cannot        11         (Jury out.)
   12    answer that question.                                         12         THE COURT: Please be seated.
   13   Q. So -- I may -- I may already know the answer to this,       13         I just wanted to give you all your trial times
   14    then. Do his claims address the unanswered question of what   14   before we adjourn.
   15    to do if a short format fits and a long one does not?         15         So the Plaintiff has used 8 hours and 18 minutes.
   16   A. I don't know.                                               16   Defendant has used 6 hours and 5 minutes.
   17   Q. And when his proposal was presented to the working          17         Is there anything that you need from the Court
   18    group, Ericsson said it was happy, right?                     18   before I let you go for the weekend?
   19       It was quite happy with this proposal, correct?            19          MR. CALDWELL: No, Your Honor.
   20   A. Ericsson seemed so.                                         20          MR. LUMISH: Nothing at all.
   21   Q. Do you remember the suggestion that I hid that -- that      21          THE COURT: All right. Thank you very much. We'll
   22    bullet point from the jury? Do you remember that suggestion   22   be in recess until Monday at 9:00 a.m.
   23    just now?                                                     23          COURT SECURITY OFFICER: All rise.
   24   A. Can you repeat that question?                               24          (Court adjourned until 9:00 a.m.,
   25   Q. Yes, sir.                                                   25          September 12, 2016.)

                                                             Page 98                                                         Page 100
                                                                        1
    1    Do you remember Mr. Lumish's suggestion that I did not         2                             CERTIFICATION
    2 show the jury that bullet point?                                  3               IT IS HEREBY CERTIFIED that the foregoing is a
    3 A. No. I must have missed his saying that.                        4 true and correct transcript from the stenographic notes of
    4 Q. You don't remember him saying: Now, Mr. Caldwell didn't        5 the proceedings in the above-entitled matter to the best of
    5 direct you to this part right here where it says Ericsson is      6 our abilities.
    6 quite happy with Proposals 1 and 2?                               7
    7     You don't remember that?                                        /s/___________________
                                                                        8 CHRISTINA BICKHAM, CRR, RMR              September 9, 2016
    8 A. Now that you say it, yes, I remember it.                       9
                                                                          Official Court Reporter
    9 Q. Who brought that document to court?
                                                                       10
   10 A. You did.
                                                                       11 /s/______________________
   11 Q. Who directed the jury to that page?                              SHEA SLOAN, CSR, RPR
                                                                       12 Official Court Reporter
   12 A. You did.
                                                                       13
   13 Q. And in those minutes does it say that Ericsson stood up
                                                                       14
   14 and said: Hey, this is our proposal. We talked about it a
                                                                       15
   15 long time ago?
                                                                       16
   16 A. That's not usually the way things are done in 3GPP.
                                                                       17
   17 Q. It does not say that, does it?
   18 A. Doesn't say that, and that's not how we work in 3GPP.         18
   19         MR. CALDWELL: No further questions, Your Honor.          19
   20         Thank you.                                               20
   21         THE COURT: All right. Anything further?                  21
   22         MR. LUMISH: No, Your Honor.                              22
   23         THE COURT: Okay.                                         23
   24         MR. LUMISH: Nothing further. Thank you.                  24
   25         THE COURT: All right. Dr. Stattin, you may step          25


  Min-U-Script®                                                                                                    (25) Pages 97 - 100
